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                             THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In re: TESTOSTERONE                                       )      Case No. 1:14-CV-01748
REPLACEMENT THERAPY                                       )      MDL No. 2545
PRODUCTS LIABILITY LITIGATION                             )
                                                          )
This document relates to all cases                        )       Honorable Matthew F. Kennelly

                                         CORRECTED
                                 CASE MANAGEMENT ORDER # 87
                             (TRIAL SELECTION PLAN AND SCHEDULE)

         In furtherance of the advancement of this MDL, the Court hereby Orders:

I.       PROTOCOL FOR SELECTION OF TRIAL GROUP CASES

         In addition to the bellwether pools and trials previously established pursuant to CMOs 14,

31, 32, 33, 61, 75, and 79 this Order provides for the selection of groups of cases that will be trial

ready on a staggered schedule by August 1, 2018 (“Trial Group 1”), January 1, 2019 (“Trial

Group 2”), and July 1, 2019 (“Trial Group 3”). The protocol for selecting the Trial Groups will

be:

         A.        The Trial Groups will consist of the following number of cases


                   1.        Trial Group 1: 12 cases (8 AbbVie cases, 2 Auxilium cases, 2 Lilly
                             cases).

                   2.        Trial Group 2: 24 cases (14 AbbVie cases, 4 Auxilium cases, 2 Lilly
                             cases, 2 Actavis cases, 2 Endo cases)

                   1.        Trial Group 3: 46 cases (28 AbbVie cases, 8 Auxilium cases, 4 Lilly
                             cases, 4 Actavis cases, 2 Endo cases)

         B.        Plaintiffs and Defendants will each select half of each type of case in each pool.

No advance meet-and-confer is required.




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         C.        The parties should attempt to select cases involving usage of a single TRT

product only. If a case that is selected turns out to involve usage of more than one TRT product,

the Court reserves the right to keep it in the pool.

II.      SCHEDULE FOR SELECTION OF TRIAL GROUPS

         Trial Group selections must be exchanged on the following dates:

         A.        Trial Group 1: December 21, 2017

         B.        Trial Group 2: February 1, 2018

         C.        Trial Group 3: April 2, 2018

III.     REQUIREMENTS FOR ALL TRIAL GROUPS

         A.        Trial Selection: The final selection of which cases will be tried and in what

sequence will be made by the Court after considering submissions by the parties describing the

cases and why they should or should not be tried and in what sequence. Those submissions are

due to the Court seven (7) days after the close of expert discovery in any Trial Group. The Court

will endeavor to issue its ruling within five (5) days of receipt of the submissions.

         Treating Physicians: Within three (3) days of a Defendant notifying a Plaintiff of a

treating physician it wants to depose, Plaintiff must notify Defendant whether Plaintiff will

endeavor to handle the scheduling of the deposition. If Plaintiff fails to respond or elects not to

handle the scheduling, Defendant will do so. If Plaintiff elects to handle the scheduling, Plaintiff

will report to Defendant within seven (7) days on the progress of scheduling and at that point if

the deposition is not scheduled, Defendant has the option to pursue the scheduling on its own.

         Except with regard to this scheduling procedure, all other provisions of CMO 27

regarding contacts with treating physicians remain in full force and effect.

         B.        Pleadings: Answers and Notices of Affirmative Defenses should be filed or, if

already filed, supplemented, within 21 days of selection of a case for Trial Group. Any further


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amendments to complaints or answers will require a stipulation or motion to the Court. The

deadline for seeking leave to amend a pleading is 42 days before the close of fact discovery.

         C.        Experts:

                   1.        The parties intend that the limitations on expert discovery set forth in Rule

26 of the Federal Rules of Civil Procedure, including the provision of Rule 26(b)(4)(A)-(D)

limiting discovery with respect to draft reports, communications with experts, and depositions of

consulting experts, shall apply to all cases, whether pending in state or federal court.

Accordingly, in order to foster cooperation between the MDL and state court litigations, counsel

for the parties shall jointly seek to enter in all state court proceedings, whether already filed or

hereafter filed, an order expressly agreeing that the limitations on expert discovery set forth in

Rule 26(b)(4)(A)-(D) shall apply in all such state court proceedings. The parties shall seek to

avoid duplicative expert discovery for experts.

                   2.        The parties may, if they wish, retain new experts for litigation of the three

new trial groups. If the parties use experts who have previously served Rule 26(a)(2) disclosures

in this litigation, the Court expects counsel to work out, by agreement, whether those experts

may simply supplement their previous reports or instead will submit new reports.

IV.      PRE-TRIAL SCHEDULES

         A.        Trial Group 1:

               1.      Supplemental PFSs shall be completed and submitted within 10 days
following selection of the Trial Group 1 cases.

               2.      Defense Fact Sheets shall be completed and submitted within 30 days
following the selection of the Trial Group 1 cases

              3.     Production of sales representative and/or sales manager files will be
produced within 28 days of any request.

                   4.        Fact discovery shall be completed on or before April 2, 2018.



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               5.      On or before April 16, 2018, Plaintiffs shall disclose expert witness
testimony for each of the trial cases pursuant to Fed. R. Civ. P. 26(a)(2).

               6.      On or before April 23, 2018, Defendants shall disclose expert witness
testimony for each of the initial bellwether trial cases pursuant to Fed. R. Civ. P. 26(a)(2).

               7.      Any rebuttal expert witness disclosures must be made by April 30, 2018
and require prior leave of Court.

                8.      Depositions of expert witnesses are to be completed by May 31, 2018.
The parties will work cooperatively and use all best efforts to schedule the depositions of
Plaintiffs’ experts on a particular subject to take place before the corresponding defense expert.

               9.     Any motion for summary judgment or for partial summary judgment or
seeking to challenge expert testimony pursuant to Daubert shall be filed on or before June 14,
2018.

                10.    Responses to summary judgment motions and Daubert motions shall be
filed on or before July 12, 2018.

                11.     Replies in support of summary judgment motions and Daubert motions
shall be filed on or before July 26, 2018.

         B.        Trial Group 2

               1.      Supplemental PFSs shall be completed and submitted within 28 days
following the selection of the Trial Group 2 cases.

               2.      Defense Fact Sheets shall be completed and submitted within 45 days
following the selection of the Trial Group 2 cases.

              3.      Production of sales representative and/or manager files will be produced
within 28 days of any request.

                   4.        Fact discovery shall be completed on or before August 3, 2018.

               5.      On or before August 24, 2018, Plaintiffs shall disclose expert witness
testimony for each of the trial cases pursuant to Fed. R. Civ. P. 26(a)(2).

               6.     On or before September 14, 2018, Defendants shall disclose expert
witness testimony for each of the initial bellwether trial cases pursuant to Fed. R. Civ. P.
26(a)(2).

              7.       Any rebuttal expert witness disclosures are to be completed by September
26, 2018 with prior leave of Court.




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                8.      Depositions of expert witnesses are to be completed by November 2,
2018. The parties will work cooperatively and use all best efforts to schedule the depositions of
Plaintiffs’ experts on a particular subject to take place before the corresponding defense expert.

               9.     Any motion for summary judgment or for partial summary judgment or
seeking to challenge expert testimony pursuant to Daubert shall be filed on or before November
16, 2018.

                10.   Responses to summary judgment motions and Daubert motions shall be
filed on or before December 14, 2018.

                11.     Replies in support of summary judgment motions and Daubert motions
shall be filed on or before December 24, 2018.

         C.        Trial Group 3:

               1.      Supplemental PFSs shall be completed and submitted within 30 days
following the selection of the Trial Group 3 cases.

               2.      Defense Fact Sheets shall be completed and submitted within 45 days
following the selection of the Trial Group 3 cases.

              3.      Production of sales representative and/or manager files will be produced
within 28 days of any request.

                   4.        Fact discovery shall be completed on or before January 11, 2019.

               5.      On or before February 1, 2019, Plaintiffs shall disclose expert witness
testimony for each of the trial cases pursuant to Fed. R. Civ. P. 26(a)(2).

               6.      On or before March 1, 2019, Defendants shall disclose expert witness
testimony for each of the initial bellwether trial cases pursuant to Fed. R. Civ. P. 26(a)(2).

              7.      Any rebuttal expert witness disclosures are to be completed by March 12,
2019 with prior leave of Court.

               8.      Depositions of expert witnesses are to be completed by May 7, 2019. The
parties will work cooperatively and use all best efforts to schedule the depositions of Plaintiffs’
experts on a particular subject to take place before the corresponding defense expert.

               9.     Any motion for summary judgment or for partial summary judgment or
seeking to challenge expert testimony pursuant to Daubert shall be filed on or before May 24,
2019.

                10.    Responses to summary judgment motions and Daubert motions shall be
filed on or before June 14, 2019.




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                11.     Replies in support of summary judgment motions and Daubert motions
shall be filed on or before June 28, 2019.

IT IS SO ORDERED.

December 11, 2017 (corrected Jan. 23, 2018)

                                                  ________________________________
                                                  MATTHEW F. KENNELLY
                                                  UNITED STATES DISTRICT JUDGE




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